       Case 1:25-cv-00766-JEB         Document 26    Filed 03/17/25    Page 1 of 35




PAMELA J. BONDI
U.S. Attorney General                            AUGUST E. FLENTJE
TODD BLANCHE                                     Acting Director
Deputy Attorney General                          EREZ REUVENI
EMIL BOVE                                        Assistant Director
Principal Associate Deputy
   Attorney General                              BRIAN C. WARD
CHAD MIZELLE                                     Acting Assistant Director
Acting Associate Attorney General                PATRICK GLEN
YAAKOV M. ROTH                                   Senior Litigation Counsel
Acting Assistant Attorney General                CHRISTINA P. GREER
                                                 Senior Litigation Counsel
DREW C. ENSIGN
Deputy Assistant Attorney General                Counsel for Defendants




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                             )
 J.G.G., et al.,                             )   Civil Action No. 1:25-cv-00766
                                             )
               Plaintiffs-Petitioners,       )
                                             )
 v.                                          )
                                             )
 DONALD J. TRUMP, in his official            )
 capacity as President of the United States, )
 et al.,                                     )
                                             )
               Defendants-Respondents.       )
                                             )


    DEFENDANTS’ MOTION TO VACATE TEMPORARY RESTRAINING ORDER
            Case 1:25-cv-00766-JEB                          Document 26                 Filed 03/17/25                Page 2 of 35




                                                       TABLE OF CONTENTS


INTRODUCTION ........................................................................................................................ 1

BACKGROUND .......................................................................................................................... 3

   I.         The Alien Enemies Act ....................................................................................................... 3

   II.        The President’s Proclamation ............................................................................................. 4

   III.          This Suit .......................................................................................................................... 6


ARGUMENT ................................................................................................................................ 7


   I.         This Court Has No Jurisdiction Over Plaintiffs’ Claims .................................................... 7

         A. There is no jurisdiction to review the President’s Proclamation and certainly no viable
         claim outside of habeas. .......................................................................................................... 7

         B. The President’s invasion determination is not subject to judicial review under the
         political question doctrine. .................................................................................................... 11

   II.        Plaintiffs Cannot Succeed on the Merits of Their Claims. ............................................... 13

         A.      The Proclamation comports with the requirements of the statute................................. 13

              1.     TdA’s actions constitute an invasion or a predatory incursion into the territory of
              the United States ............................................................................................................... 14

              2.    Given its intimate connection to Venezuela, TdA is a “foreign nation or
              government” for purposes of Section 21 .......................................................................... 15

         B.     The Proclamation is supported by the President’s inherent authority to conduct
         foreign affairs and address national security risks. ............................................................... 17

         C.          Plaintiffs’ remaining arguments lack merit............................................................... 18

   III.          The Remaining Equitable Factors Weigh Strongly in the Government’s Favor. ......... 22




                                                                           i
          Case 1:25-cv-00766-JEB                       Document 26               Filed 03/17/25             Page 3 of 35




       A.     Plaintiffs have not established irreparable harm. .......................................................... 22

       B.     The balance of equities requires dissolving the injunction. .......................................... 23

   IV.        The Universal TRO Is Overbroad and Unconstitutional. ............................................. 24

CONCLUSION ........................................................................................................................... 25




                                                                    ii
          Case 1:25-cv-00766-JEB                       Document 26               Filed 03/17/25              Page 4 of 35




                                               TABLE OF AUTHORITIES

                                                                 Cases

Adams v. Vance,
  570 F.2d 950 (D.C. Cir. 1978) .............................................................................................. 2, 22

Amaya v. Stanolind Oil & Gas Co.,
  62 F. Supp. 181 (S.D. Tex. 1945) ............................................................................................. 14

Armstrong v. Bush,
  924 F.2d 282 (D.C. Cir. 1991) .................................................................................................... 9

Baker v. Carr,
  369 U.S. 186 (1962) .................................................................................................................. 11

Biden v. Texas,
  142 S. Ct. 2528 (2022) .............................................................................................................. 23

California v. United States,
  104 F.3d 1086 (9th Cir. 1997) ............................................................................................ 11, 12

Chiles v. United States,
  874 F. Supp. 1334 (S.D. Fla. 1994) .......................................................................................... 12

Citizens Protective League v. Clark,
  155 F.2d 290 (D.C. Cir. 1946) ........................................................................................... passim

Clark v. Memolo,
  174 F.2d 978 (D.C. Cir. 1949) .................................................................................................... 9

Clinton v. Goldsmith,
  526 U.S. 529 (1999) .................................................................................................................. 10

Davrod Corp. v. Coates,
  971 F.2d 778 (1st Cir. 1992) ............................................................................................... 14, 15

El-Shifa Pharm. Indus. Co. v. United States,
  607 F.3d 836 (D.C. Cir. 2010) ............................................................................................ 11, 15

Epic Systems Corp. v. Lewis,
  584 U.S. 497 (2018) .................................................................................................................. 18

Fernandez v. Phillips,
  268 U.S. 311 (1925) .................................................................................................................... 9




                                                                    iii
          Case 1:25-cv-00766-JEB                       Document 26               Filed 03/17/25             Page 5 of 35




Fletcher v. Reilly,
  433 F.3d 867 (D.C. Cir. 2006) .................................................................................................... 8

Franklin v. Massachusetts,
  505 U.S. 788 (1992) .............................................................................................................. 9, 21

Ex parte Gilroy,
  257 F. 110 (S.D.N.Y. 1919) ........................................................................................................ 7

Harisiades v. Shaughnessy,
  342 U.S. 580 (1952) ............................................................................................................ 12, 16

Harris v. Med. Transp. Mgmt., Inc.,
  77 F.4th 746 (D.C. Cir. 2023) ..................................................................................................... 8

Holder v. Humanitarian Law Project,
  561 U.S. 1 (2010) ............................................................................................................ 3, 22, 24

Huisha-Huisha v. Mayorkas,
  27 F.4th 718 (D.C. Cir. 2022) ............................................................................................. 17, 20

In re Nat’l Nurses United,
   47 F.4th 746 (D.C. Cir. 2022) ................................................................................................... 10

Kaminer v. Clark,
  177 F.2d 51 (D.C. Cir. 1949) ...................................................................................................... 9

Kiobel v. Royal Dutch Petroleum Co.,
  569 U.S. 108 (2013) .................................................................................................................. 23

Lobue v. Christopher,
  82 F.3d 1081 (D.C. Cir. 1996) ................................................................................................ 1, 9

Lockington v. Smith,
  15 F. Cas. 758 (C.C.D. Pa. 1817) ............................................................................................... 3

Ludecke v. Watkins,
  335 U.S. 160 (1948) ........................................................................................................... passim

Makekau v. Hawaii,
 943 F.3d 1200 (9th Cir. 2019) .................................................................................................. 10

Massachusetts v. Mellon,
 262 U.S. 447 (1923) .................................................................................................................. 24




                                                                    iv
          Case 1:25-cv-00766-JEB                       Document 26               Filed 03/17/25              Page 6 of 35




Mathews v. Diaz,
 426 U.S. 67 (1976) .................................................................................................................... 12

Mississippi v. Johnson,
  71 U.S. (4 Wall.) 475 (1867) ...................................................................................................... 6

Monk v. Sec’y of Navy,
 793 F.2d 364 (D.C. Cir. 1986) .................................................................................................... 9

Morales v. Trans World Airlines, Inc.,
 504 U.S. 374 (1992) .................................................................................................................. 18

Morton v. Mancari,
 417 U.S. 535 (1974) .................................................................................................................. 18

Nishimura Ekiu v. United States,
  142 U.S. 651 (1892) .................................................................................................................. 17

Nken v. Holder, 556 U.S. 418 (2009) ................................................................................. 2, 22, 23

Rasul v. Bush,
  542 U.S. 466 (2004) .................................................................................................................. 24

Rumsfeld v. Padilla,
  542 U.S. 425 (2004) ................................................................................................................ 1, 8

Sale v. Haitian Ctrs. Council, Inc.,
  509 U.S. 155 (1993) .................................................................................................................. 19

Schneider v. Kissinger,
  412 F.3d 190 (D.C. Cir. 2005) .................................................................................................. 11

Syngenta Crop Prot., Inc. v. Henson,
  537 U.S. 28 (2002) .................................................................................................................... 10

TransUnion LLC v. Ramirez,
  594 U.S. 413 (2021) .................................................................................................................. 24

Trump v. United States,
  603 U.S. 593 (2024) .................................................................................................................... 6

Tulare Cnty. v. Bush,
  185 F. Supp. 2d 18 (D.D.C. 2001) ............................................................................................ 10

U.S. ex rel. Schlueter v. Watkins,
  67 F. Supp. 556 (S.D.N.Y.)................................................................................................... 8, 10




                                                                     v
          Case 1:25-cv-00766-JEB                         Document 26                Filed 03/17/25               Page 7 of 35




U.S. ex rel. Schwarzkopf v. Uhl,
  137 F.2d 898 (2d Cir. 1943)........................................................................................................ 8

U.S. ex rel. Von Heymann v. Watkins,
  159 F.2d 650 (2d Cir. 1947)................................................................................................ 21, 23

United States ex rel. Dorfler v. Watkins,
  171 F.2d 431 (2d Cir. 1948)...................................................................................................... 21

United States ex rel. Kessler v. Watkins,
  163 F.2d 140 (2d Cir. 1947)...................................................................................................... 24

United States ex rel. Knauff v. Shaughnessy,
  338 U.S. 537 (1950) .................................................................................................................. 17

United States ex rel. Von Kleczkowski v. Watkins,
  71 F. Supp. 429 (S.D.N.Y. 1947).............................................................................................. 18

United States v. Cortez,
  449 U.S. 411 (1981) .................................................................................................................. 22

United States v. Curtiss-Wright Exp. Corp.,
  299 U.S. 304 (1936) .................................................................................................................. 16

United States v. Texas,
  719 F. Supp. 3d 640 (W.D. Tex. 2024)..................................................................................... 13

Vetcher v. Sessions,
  316 F. Supp. 3d 70 (D.D.C. 2018) ............................................................................................ 10

Youngstown Sheet & Tube Co. v. Sawyer,
  343 U.S. 579 (1952) .................................................................................................................. 16

Zadvydas v. Davis,
  533 U.S. 678 (2001) .................................................................................................................. 23

Zivotofsky ex rel. Zivotofsky v. Kerry,
  576 U.S. 1 (2015) .......................................................................................................... 17, 21, 22

                                                                  Statutes

8 U.S.C. § 1101 ............................................................................................................................. 17

8 U.S.C. § 1158(b)(1)(A) .............................................................................................................. 19

8 U.S.C. § 1189 ............................................................................................................................... 5




                                                                       vi
          Case 1:25-cv-00766-JEB                         Document 26                Filed 03/17/25               Page 8 of 35




8 U.S.C. § 1229a(a)(3) .................................................................................................................. 17

8 U.S.C. § 1231(b)(3) ................................................................................................................... 19

8 U.S.C. § 1231(b)(3)(A) .............................................................................................................. 20

21 U.S.C. § 1901 ............................................................................................................................. 4

28 U.S.C. § 1651(a) ...................................................................................................................... 10

28 U.S.C. § 2241 ............................................................................................................................. 9

50 U.S.C. § 21 ........................................................................................................................ passim

50 U.S.C. § 22 ............................................................................................................................... 21

                                                               Regulations

8 C.F.R. § 1208.16 ........................................................................................................................ 19

8 C.F.R. § 1208.16(a).................................................................................................................... 20




                                                                      vii
       Case 1:25-cv-00766-JEB           Document 26        Filed 03/17/25      Page 9 of 35




                                        INTRODUCTION

        On March 15, 2025, the Court issued two orders that together enjoined—on a nationwide

basis—the removal of aliens associated with Tren de Aragua (“TdA”), a designated foreign

terrorist organization (“FTO”), under the Alien Enemies Act (“AEA”). These orders are an affront

to the President’s broad constitutional and statutory authority to protect the United States from

dangerous aliens who pose grave threats to the American people. For a host of reasons, the Court

lacks the power to review or enjoin the AEA Proclamation, and must therefore dissolve its orders

at the first available opportunity.

        First, the Court lacks jurisdiction because the presidential actions they challenge are not

subject to judicial review, as the D.C. Circuit has long and squarely held. See Citizens Protective

League v. Clark, 155 F.2d 290, 294 (D.C. Cir. 1946). And to the extent any review were available,

it would be through habeas proceedings, see Ludecke v. Watkins, 335 U.S. 160 (1948) (considering

challenge to action under AEA as habeas claim)—yet Plaintiffs voluntarily withdrew their habeas

claims here. They had little choice, because habeas claims may be filed only in the district of

confinement, see Rumsfeld v. Padilla, 542 U.S. 425, 435 (2004), and none of the Plaintiffs were

detained in the District of Columbia. Plaintiffs tried to circumvent that defect by recasting their

case as a putative class action, but D.C. Circuit precedent bars that attempt to avoid the “preclusive

effect of habeas jurisdiction.” Lobue v. Christopher, 82 F.3d 1081, 1083 (D.C. Cir. 1996); see

also id. at 1085 (plaintiffs “cannot overcome their jurisdictional infirmities ... by reference to the

characteristics of putative class members—a class uncertified at the time the jurisdictional issue

should have been resolved”). There is similarly no jurisdiction for the Court to order the

government to produce additional information about its missions. Accordingly, there was no




                                                  1
       Case 1:25-cv-00766-JEB         Document 26          Filed 03/17/25    Page 10 of 35




lawful basis for the Court to enjoin implementation of the President’s Proclamation under the

AEA.

       Second, even if review were available in some form, the Court issued the orders without

any proper basis to conclude that Plaintiffs are likely to succeed on the merits. The President’s

action is lawful and consistent with a long history of using war authorities against organizations

connected to foreign states. It is properly premised on national security judgments, which are not

subject to judicial second-guessing. Contrary to the Court’s initial suppositions, TdA qualifies as

a foreign “government” for purposes of the AEA, given its intricate connections with the Maduro

regime and its own existence as a de facto governing entity in parts of Venezuela.              The

Proclamation makes those necessary findings, which Plaintiffs have yet to challenge in any

briefing. And the illegal entry into the United States by TdA members and affiliates for purposes

of engaging in criminal acts hostile to the interests of the United States constitutes an “invasion”

or “predatory incursion” under accepted definitions of both terms.          All prerequisites to a

Proclamation under Section 21 are thus met in this case.

       Finally, Plaintiffs have not shown the requisite irreparable harm, and the balance of equities

weighs strongly against an injunction. Removal alone is not irreparable harm, as the Supreme

Court expressly held in Nken v. Holder, where the petitioner similarly alleged a risk of persecution

if removed. 556 U.S. 418, 422–23, 435 (2009). Regardless, the alleged harms to Plaintiffs are

overwhelmingly outweighed by the President’s interest in using his statutory and constitutional

authority to address what he has identified as an invasion or predatory incursion by a group

undertaking hostile actions and conducting irregular warfare. In balancing the interests otherwise,

the orders “deeply intrude[] into the core concerns of the executive branch.” Adams v. Vance, 570

F.2d 950, 954 (D.C. Cir. 1978). When dealing with such “sensitive and weighty interests of


                                                 2
      Case 1:25-cv-00766-JEB           Document 26        Filed 03/17/25       Page 11 of 35




national security and foreign affairs,” the court must give “deference” to “evaluation of the facts

by the Executive,” Holder v. Humanitarian Law Project, 561 U.S. 1, 33–35 (2010), and the balance

of the equities must favor the security of the United States above all else.

                                         BACKGROUND

I.     The Alien Enemies Act

       The AEA provides that:

               Whenever there is a declared war between the United States and any
               foreign nation or government, or any invasion or predatory incursion
               is perpetrated, attempted, or threatened against the territory of the
               United States by any foreign nation or government, and the
               President makes public proclamation of the event, all natives,
               citizens, denizens, or subjects of the hostile nation or government,
               being of the age of fourteen years and upward, who shall be within
               the United States and not actually naturalized, shall be liable to be
               apprehended, restrained, secured, and removed as alien enemies.

50 U.S.C. § 21.

       Courts have recognized the legitimacy of the AEA as an exercise of the war power reserved

to Congress and the Executive. The Supreme Court has observed that the AEA is “as unlimited”

a grant of power “as the legislature could make it.” Ludecke, 335 U.S. at 164 (quoting Lockington

v. Smith, 15 F. Cas. 758, 760 (C.C.D. Pa. 1817)); see also id. at 165 n.8 (collecting cases). Courts

have further explained that the statute encompasses “matters of political judgment for which judges

have neither technical competence nor official responsibility.” Id. at 170 (holding that the

President’s power under the AEA remained in effect even after actual hostilities in World War II

had ceased). And the D.C. Circuit has held that this statute confers “[u]nreviewable power in the

President to restrain, and to provide for the removal of, alien enemies.” Citizens Protective

League, 155 F.2d at 294. Courts have therefore limited their review in prior challenges to just a

few, very narrow questions that sound in habeas: “the construction and validity of the statute”;


                                                  3
      Case 1:25-cv-00766-JEB           Document 26        Filed 03/17/25      Page 12 of 35




whether, when relevant, there is a “declared war”; and whether the “person restrained is an enemy

alien fourteen years of age or older.” Ludecke, 335 U.S. at 171 & n.17.

II.    The President’s Proclamation

       The President published the Invocation of the Alien Enemies Act Regarding the Invasion

of the United States by Tren de Aragua (the “Proclamation”) on March 15, 2025. See

https://www.whitehouse.gov/presidential-actions/2025/03/invocation-of-the-alien-enemies-act-

regarding-the-invasion-of-the-united-states-by-tren-de-aragua/.

       In the Proclamation, the President made findings that members of the transnational criminal

organization TdA, in conjunction with a narco-terrorism enterprise backed by the illegitimate

regime of Nicolas Maduro in Venezuela, are “conducting irregular warfare and undertaking hostile

actions against the United States.” Id. at Preamble. TdA has also “engaged in and continues to

engage in mass illegal migration to the United States,” including to inflict harm on U.S. citizens

and support Maduro’s regime in undermining democracy. Id. Further, TdA is “closely aligned

with” and “has infiltrated” Maduro’s regime, growing under Tareck El Aissami’s governance of

the province of Aragua from 2012 to 2017. Id. Aissami himself is a “fugitive facing charges

arising from his violations of United States sanctions triggered by his” designation as a Specially

Designated Narcotics Trafficker under 21 U.S.C. § 1901 et seq. Id. And Maduro leads the “Cártel

de los Soles, which coordinates with and relies on TdA and other organizations to carry out its

objective of using illegal narcotics as a weapon to ‘flood’ the United States.” Id.

       Criminal organizations such as TdA have taken greater control over Venezuelan territory,

resulting in the creation of a “hybrid criminal state” that poses “substantial danger” to the United

States and is “perpetrating an invasion of and predatory incursion” into the nation. Id. (noting also

INTERPOL Washington’s finding that TdA has infiltrated the flow of immigrants from


                                                 4
      Case 1:25-cv-00766-JEB           Document 26        Filed 03/17/25        Page 13 of 35




Venezuela). TdA has independently been designated as an FTO under 8 U.S.C. § 1189 since

February 20, 2025. Id. That designation has not been challenged in court.

       Based on these findings, the President proclaimed that “all Venezuelan citizens 14 years of

age or older who are members of TdA, are within the United States, and are not actually naturalized

or lawful permanent residents of the United States are liable to be apprehended, restrained, secured,

and removed as Alien Enemies.” Id. § 1. The President further directed that all such alien enemies

“are subject to immediate apprehension, detention, and removal.” Id. § 3. The Attorney General

and Secretary of Homeland Security have been tasked with executing these directives, in addition

to any separate authority that may exist to apprehend and remove such persons. Id. §§ 4, 6.

       The President also issued regulations prohibiting the entry, attempted entry, or presence of

the alien enemies described in Section 1 of the Proclamation, with any such alien enemies “subject

to summary apprehension.” Id. § 6(a). Apprehended alien enemies are subject to detention until

their removal from the United States, and they may be removed to “any such location as may be

directed” by those responsible for executing the regulations. Id. § 6(b)–(c).

       For its part, DHS has also developed a process for identifying TdA members that will be

subject to the proclamation. Exhibit 1, Declaration of Robert Cerna, at ¶ 7. Agency personnel

carefully vet each individual alien to ensure they are in fact members of TdA. Id. Officers and

agents well versed in gang activity and TdA in particular reviewed the information gathered on

each alien, “identifying TdA members based upon the results of investigative techniques and

information such as previous criminal convictions for TdA-related activities, other court records

indicating membership in TdA, surveillance, law enforcement encounters, interviews with the TdA

member, testimonies and statements from victims of the TdA member, evidence that the alien had

committed crimes in coordination with known members of TdA, evidence that the alien had


                                                 5
         Case 1:25-cv-00766-JEB        Document 26       Filed 03/17/25     Page 14 of 35




committed sophisticated financial transactions with known members of TdA, computer indices

checks, and admission of TdA membership by the alien.” Id.

III.     This Suit

         On March 15, 2025, Plaintiffs, five nationals of Venezuela who claim to fear removal under

the Proclamation, filed this putative class-action complaint along with a motion for a temporary

restraining order. In their complaint, Plaintiffs allege, among other things, that the Defendants’

actions are contrary to the AEA and the INA.

         Hours after the complaint was filed, without the actual Proclamation and without hearing

from the Government, the Court granted Plaintiffs’ motion and ordered that “Defendants shall not

remove any of the individual Plaintiffs from the United States for 14 days absent further Order of

the Court.” Second Minute Order (Mar. 15, 2025). The Government appealed the district court’s

first order and filed an emergency motion to stay it. See J.G.G. v. Trump, No. 25-5067 (D.C. Cir.

filed Mar. 15, 2025).

         This Court then held a hearing on March 15, 2025, at 5:00 p.m. Third Minute Order (Mar.

15, 2025). At that hearing, Plaintiffs dismissed their habeas claims at this Court’s suggestion.

Afterward, the Court issued an order (1) provisionally certifying a class of individuals determined

by the Executive to be members of a designated FTO, defined as “All noncitizens in U.S. custody

who are subject to the March 15, 2025, Presidential Proclamation . . . and its implementation,”

(2) enjoining the Government “from removing members of such class (not otherwise subject to

removal) pursuant to the Proclamation for 14 days or until further Order of the Court,” and

(3) setting a briefing schedule for a motion to vacate the TRO. Fourth Minute Order (Mar. 15,

2025).




                                                 6
      Case 1:25-cv-00766-JEB           Document 26         Filed 03/17/25    Page 15 of 35




       The Government also appealed this nationwide order and sought a stay on an emergency

basis. See J.G.G. v. Trump, No. 25-5068 (D.C. Cir. filed Mar. 15, 2025). The D.C. Circuit has

ordered Plaintiffs to file a consolidated response to both emergency stay motions by March 18,

2025, with a reply 24 hours thereafter. See Per Curiam Order (Mar. 16, 2025).

                                           ARGUMENT

I.     This Court Has No Jurisdiction Over Plaintiffs’ Claims

       A.      There is no jurisdiction to review the President’s Proclamation and certainly
               no viable claim outside of habeas.

       This Court lacks jurisdiction to review the Proclamation or enjoin the President’s exercise

of authority under Article II and the AEA. The Supreme Court has long recognized that courts

cannot issue an injunction purporting to supervise the President’s performance of his duties.

Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 501 (1867) (courts have “no jurisdiction … to enjoin

the President in the performance of his official duties”); Trump v. United States, 603 U.S. 593, 607

(2024) (recounting that the President “has important foreign relations responsibilities: [including]

… recognizing foreign governments, … overseeing international diplomacy and intelligence

gathering, and managing matters related to terrorism, … and immigration”).

       Consistent with that general rule, courts have held for over a century that the President’s

authority and discretion under the AEA is not a proper subject for judicial scrutiny: “The authority

of the President to promulgate by proclamation or public act ‘the manner and degree of the restraint

to which they (alien enemies) shall be subject, and in what cases,’ is, of course, plenary and not

reviewable.” Ex parte Gilroy, 257 F. 110, 112 (S.D.N.Y. 1919) (emphasis added); see also id.

(“Once the person is an alien enemy, obviously the course to be pursued is essentially an executive

function, to be exercised in the discretion of the President.”).

       Indeed, the D.C. Circuit has described the statute as conferring “[u]nreviewable power in

                                                  7
      Case 1:25-cv-00766-JEB          Document 26        Filed 03/17/25      Page 16 of 35




the President.” Citizens Protective League, 155 F.2d at 294. The court explained:

               As a practical matter, it is inconceivable that before an alien enemy
               could be removed from the territory of this country in time of war,
               the President should be compelled to spread upon the public record
               in a judicial proceeding the method by which the Government may
               detect enemy activity within our borders and the sources of the
               information upon which it apprehends individual enemies. No
               constitutional principle is violated by the lodgment in the President
               of the power to remove alien enemies without resort or recourse to
               the courts.
Id. That is binding circuit precedent. Unreviewable means unreviewable. It leaves no room for

judicial review, much less sweeping national injunctions.

       At most, a plaintiff seeking to challenge application of an AEA proclamation would be

challenging the legality of detention, a habeas claim that is limited in scope. See, e.g., Ludecke,

335 U.S. at 163–64 (reasoning, on appeal from “[d]enial of a writ of habeas corpus,” that “some

statutes ‘preclude judicial review’” and “the Alien Enemy Act of 1798 is such a statute,” as

demonstrated by the clear text and “controlling contemporary construction”); id. at 164–65 (noting

that “every judge before whom the question has since come has held that the statute barred judicial

review”); see also U.S. ex rel. Schlueter v. Watkins, 67 F. Supp. 556, 565 (S.D.N.Y.), aff’d, 158

F.2d 853 (2d Cir. 1946) (reviewing habeas petition challenging detention as an alien enemy and

explaining “courts are without power to review the action of the executive in ordering removal of

an alien enemy in time of war except with respect to the question whether the relator is an enemy

alien”); U.S. ex rel. Schwarzkopf v. Uhl, 137 F.2d 898, 900 (2d Cir. 1943) (similar); Citizens

Protective League, 155 F.2d at 296 (affirming dismissal, for failure to state a claim, of non-habeas

cases raising constitutional challenges to application of Alien Enemies Act and seeking




                                                 8
      Case 1:25-cv-00766-JEB           Document 26         Filed 03/17/25      Page 17 of 35




injunction).1

       Plaintiffs’ complaint contains a habeas claim, but they withdrew that claim at argument.

See Mot. Hr’g Tr. at 22:23–25 (Mar. 15, 2025) (“grant[ing] plaintiffs’ motion to dismiss their

habeas count” and noting “that count is dismissed without prejudice”). They had little choice but

to do so, because Plaintiffs by their own admission were not detained in this district, and habeas is

available only in the district of detention. See Padilla, 542 U.S. at 435; Fletcher v. Reilly, 433

F.3d 867, 875 (D.C. Cir. 2006).

       Insofar as Plaintiffs try to evade the preclusive effects of habeas jurisdiction by framing

their claims in other ways—such as for declaratory or injunctive relief—the D.C. Circuit has

rejected such maneuvers. In Lobue v. Christopher, for example, the Court of Appeals vacated a

decision invalidating an extradition statute, on the ground that the district court lacked jurisdiction

because the fugitives had a legal remedy (a petition for habeas relief under 28 U.S.C. § 2241) in

the district that certified their extradition. 82 F.3d 1081 (D.C. Cir. 1996). The Court’s rationale

was that the district court should not have entertained a separate lawsuit for declaratory and

injunctive relief where the statutory remedy of habeas corpus was available. Id. at 1084; see also

Fernandez v. Phillips, 268 U.S. 311, 312 (1925) (in habeas petition, fugitive may raise

constitutional challenges to validity and scope of extradition treaty).




1
  Because jurisdiction in this context is limited to individual habeas claims challenging whether an
alien has been properly included in the category of alien enemies—necessarily an individual
determination—there is also no basis to certify a class to resolve those claims. See Harris v. Med.
Transp. Mgmt., Inc., 77 F.4th 746, 753 (D.C. Cir. 2023) (class certification not appropriate where
“questions of law or fact … affecting only individual members” predominate); Compl. ¶¶ 9–13
(setting out separate factual circumstances of each Plaintiff).

                                                  9
      Case 1:25-cv-00766-JEB           Document 26        Filed 03/17/25      Page 18 of 35




       Other circuit precedent underscores the conclusion; plaintiffs cannot avoid limits on habeas

by restyling their claims. See, e.g., Kaminer v. Clark, 177 F.2d 51, 52 (D.C. Cir. 1949) (“[A]

declaratory judgment cannot serve as a substitute for habeas corpus relief in order to give

jurisdiction to a district other than where the applicant is detained.”); Clark v. Memolo, 174 F.2d

978, 981 (D.C. Cir. 1949) (“The action for declaratory judgment is not suitable and does not lie in

the District of Columbia in such cases as a substitute ... for habeas corpus in the district where the

unlawful detention occurs ...”); cf. Monk v. Sec’y of Navy, 793 F.2d 364, 366 (D.C. Cir. 1986) (“In

adopting the federal habeas corpus statute, Congress determined that habeas corpus is the

appropriate federal remedy for a prisoner who claims that he is in custody in violation of the

Constitution .... This specific determination must override the general terms of the declaratory

judgment and federal question statute.”).

       Nor can Plaintiffs circumvent this problem by invoking the Administrative Procedure Act

(APA), as they appear to acknowledge by raising their APA challenge as to all Defendants “except

Defendant Trump.” Compl. at 18 (Claim 6). The President is not an agency, and his actions are

not subject to APA review. See Franklin v. Massachusetts, 505 U.S. 788, 801 (1992); Armstrong

v. Bush, 924 F.2d 282, 289 (D.C. Cir. 1991). But, of course, the AEA vests authority in the

President, and the President is the one who issued the Proclamation. There is therefore no avenue

under the APA for Plaintiffs to enjoin the Proclamation. See Tulare Cnty. v. Bush, 185 F. Supp.

2d 18, 28–29 (D.D.C. 2001), aff’d, 306 F.3d 1138 (D.C. Cir. 2002) (holding that APA review does

not extend to agency action “merely carrying out directives of the President” for the same reasons

“APA does not apply to presidential action,” since “the action in question is an extension of the

President’s action”); see also Vetcher v. Sessions, 316 F. Supp. 3d 70, 78 (D.D.C. 2018)

(recognizing that APA review is not available when relief can be had in habeas).


                                                 10
      Case 1:25-cv-00766-JEB            Document 26        Filed 03/17/25       Page 19 of 35




       Finally, the All Writs Act does not confer jurisdiction either. Contra Mot. 23. That Act

allows courts to issue “writs necessary or appropriate in aid of their respective jurisdictions,” 28

U.S.C. § 1651(a), but it “does not erase separate legal requirements for a given type of claim.”

Makekau v. Hawaii, 943 F.3d 1200, 1204 (9th Cir. 2019). The All Writs Act thus “does not confer

jurisdiction on the federal courts”; it simply permits a court to protect jurisdiction that was properly

obtained on some other basis. See Syngenta Crop Prot., Inc. v. Henson, 537 U.S. 28, 32–33 (2002);

Clinton v. Goldsmith, 526 U.S. 529, 534–35 (1999). As the D.C. Circuit has therefore made clear,

if a “court does not and would not have jurisdiction to review the agency action sought by

petitioners, it cannot bootstrap jurisdiction via the All Writs Act.” In re Nat’l Nurses United, 47

F.4th 746, 752 (D.C. Cir. 2022). That is dispositive here.

       In short, outside of limited habeas review, “[t]he control of alien enemies has been held to

be a political matter in which the executive and the legislature may exercise an unhampered

discretion,” and an “alien enemy” otherwise “is not, under the Constitution and the Statute, entitled

to any hearing.” Schlueter, 67 F. Supp. at 565. That itself requires dissolving the orders.

       B.      The President’s invasion determination is not subject to judicial review under
               the political question doctrine.

       The Court lacks power for another reason as well. The President’s determination that an

“invasion” or “predatory incursion” has occurred under the AEA is a nonjusticiable political

question, just like the President’s determination to trigger the Constitution’s Invasion Clause

(Article IV, section 4). See California v. United States, 104 F.3d 1086, 1091 (9th Cir. 1997)

(collecting cases). Any challenge to that determination is therefore foreclosed.

       The Supreme Court has held that the political question doctrine is “essentially a function

of the separation of powers.” Baker v. Carr, 369 U.S. 186, 217 (1962). To guide courts in



                                                  11
      Case 1:25-cv-00766-JEB           Document 26         Filed 03/17/25      Page 20 of 35




determining when such a question is raised, the Supreme Court identified six “formulations” that

indicate a question has been committed to the political branches:

               Prominent on the surface of any case held to involve a political
               question is found a textually demonstrable constitutional
               commitment of the issue to a coordinate political department; or a
               lack of judicially discoverable and manageable standards for
               resolving it; or the impossibility of deciding without an initial policy
               determination of a kind clearly for nonjudicial discretion; or the
               impossibility of a court’s undertaking independent resolution
               without expressing lack of the respect due coordinate branches of
               government; or an unusual need for unquestioning adherence to a
               political decision already made; or the potentiality of embarrassment
               from multifarious pronouncements by various departments on one
               question.

Id. “To find a political question, [the court] need only conclude that one [of these] factor[s] is

present, not all.” Schneider v. Kissinger, 412 F.3d 190, 194 (D.C. Cir. 2005). The President’s

invasion determination under the AEA implicates at least two independently sufficient factors.

       First, the determination that an “invasion” or “predatory incursion” involving enemy aliens

is being perpetrated sits at the intersection of two areas textually committed to the political

branches: (1) foreign affairs, see El-Shifa Pharm. Indus. Co. v. United States, 607 F.3d 836, 842

(D.C. Cir. 2010) (“The political question doctrine bars our review of claims that, regardless of how

they are styled, call into question the prudence of the political branches in matters of foreign policy

or national security constitutionally committed to their discretion.”); see also California, 104 F.3d

at 1091 (“[T]he issue of protection of the States from invasion implicates foreign policy concerns

which have been constitutionally committed to the political branches.”); and (2) immigration

policy, see Mathews v. Diaz, 426 U.S. 67, 81 (1976) (“[T]he responsibility for regulating the

relationship between the United States and our alien visitors has been committed to the political

branches of the Federal Government.”).         Indeed, “any policy towards aliens is vitally and

intricately interwoven with contemporaneous policies in regard to the conduct of foreign relations,

                                                  12
      Case 1:25-cv-00766-JEB           Document 26       Filed 03/17/25      Page 21 of 35




the war power, and the maintenance of a republican form of government. Such matters are so

exclusively entrusted to the political branches of government as to be largely immune from judicial

inquiry or interference.” Harisiades v. Shaughnessy, 342 U.S. 580, 588–89 (1952).

       Second, even without the clear textual commitment to the Executive of the constitutional

responsibilities undergirding issuance of the Proclamation, there are no manageable standards that

would permit a court to assess exactly when hostile entry and criminal and violent acts within the

United States by aliens constitute an “invasion” or “predatory incursion” for AEA purposes. See

California, 104 F.3d at 1091; cf. Chiles v. United States, 874 F. Supp. 1334, 1344 (S.D. Fla. 1994)

(“[T]he Court is unable to identify[] a manageable standard for determining when the migration,

as well as the costs associated with such migration, reaches the point at which it invades the State

of Florida’s state sovereignty”). The Constitution simply provides no basis for a court to determine

when this AEA trigger has been met, and thus there is no basis for second-guessing the policy

judgment by the Executive that such an “invasion” or “predatory incursion” is occurring.

II.    Plaintiffs Cannot Succeed on the Merits of Their Claims.

       A.      The Proclamation comports with the requirements of the statute.

       In all events, the Proclamation and its implementation are perfectly lawful. The AEA

grants the President discretion to issue a proclamation directing the apprehension, restraint, and

removal of alien enemies when two conditions are found by the President to be met. First, there

must be “a declared war,” or “an[] invasion” or a “predatory incursion” that is “perpetrated,” or

“attempted,” or “threatened against the territory of the United States[.]” 50 U.S.C. § 21. Second,

that hostile action must be by a “foreign nation” or “government.” Id. The Proclamation signed

by the President satisfies both conditions.




                                                13
      Case 1:25-cv-00766-JEB           Document 26         Filed 03/17/25      Page 22 of 35




               1.      TdA’s actions constitute an invasion or a predatory incursion into the
                       territory of the United States.

       As to the first prerequisite, the President determined that TdA is perpetrating an invasion

or a predatory incursion into the United States. Although the word “invasion” of course includes

a military entry and occupation of a country, the accepted definition of that term is far broader.

An invasion is “[a]n intrusion or unwelcome incursion of some kind; esp., the hostile or forcible

encroachment on another’s rights,” or “[t]he arrival somewhere of people or things who are not

wanted there.” Black’s Law Dictionary, “Invasion” (12th ed. 2024). Nor is there any requirement

that the purposes of the incursion are to possess or hold territory. See, e.g., United States v. Texas,

719 F. Supp. 3d 640, 681 (W.D. Tex. 2024). Here, the actions of TdA fit accepted conceptions of

what constitutes an invasion. TdA’s illegal entry into and continued unlawful presence in the

United States is an “unwelcome intrusion” that entails hostile acts contrary to the rights of U.S.

citizens to be free from criminality and violence.

       At minimum, the actions of TdA constitute a “predatory incursion” that justifies invocation

of Section 21. The phrase “predatory incursion” encompasses (1) an entry into the United States

(2) for purposes contrary to the interests or laws of the United States. See, e.g., Amaya v. Stanolind

Oil & Gas Co., 62 F. Supp. 181, 189–90 (S.D. Tex. 1945) (noting use of the phrase to describe

raids in Texas during hostilities with Mexico in the 1840s that fell well short of “invasion”); see

also Davrod Corp. v. Coates, 971 F.2d 778, 785 (1st Cir. 1992) (using the phrase to refer to foreign

fishing fleets unlawfully entering and fishing in U.S. territorial waters); Bas v. Tingy, 4 US 37

(1800) (broadly defining “enemy” and “war”). Here, there is no question that TdA and its members

have effected entries into the United States, and similarly no question that the purposes of that

entry are contrary to both the interests and laws of this country: trafficking in substances and



                                                  14
      Case 1:25-cv-00766-JEB           Document 26         Filed 03/17/25     Page 23 of 35




people, committing violent crimes, and conducting all its business for the benefit of a state whose

interests are antithetical to the United States. See Proclamation, Sect. 1.

       In arguing there is no “invasion” or “predatory incursion,” Plaintiffs cherry-pick dictionary

definitions limiting those terms to military incursions meant to displace a government or conquer

territory. See Mot. at 10–12. But there is no reason to limit the textual language of Section 21

solely to acts meant to perpetrate active hostilities between two governments, and Plaintiffs’ own

proffered definitions are incomplete.      In fact, every full definition they offer supports the

government’s position. The full definition of “invasion” that Plaintiffs rely on, for instance,

includes “[a] hostile entrance into the possessions of another,” a definition that encompasses what

TdA is undertaking here. See Webster’s Dictionary, “Invasion” (1828). Likewise, “incursion” is

defined to include “entering into a territory with hostile intention.” Webster’s Dictionary,

“Incursion” (1828). Both definitions include military action, but neither is limited to such action.

               2.      Given its intimate connection to Venezuela, TdA is a “foreign nation or
                       government” for purposes of Section 21.

       The Proclamation makes clear that TdA qualifies as a “foreign nation or government” for

at least two independent reasons. To start, TdA’s infiltration of key elements of the Venezuelan

state, make it indistinguishable from Venezuela. See Proclamation. TdA’s growth itself can be

attributed to promotion via the actions of former Governor of Aragua Tareck El Aissami, who was

later appointed Vice President in the Maduro regime. Id. And Maduro’s connections to the group,

via the regime-sponsored narco-terrorism enterprise Cártel de los Soles, are also clear. Id. The

Cártel de los Soles “coordinates with and relies on TdA [] to carry out its objective of using illegal

narcotics as a weapon to ‘flood’ the United States.” See id.

       Given how significantly TdA has become intertwined in the fabric of the Venezuela’s

structures, it functions as a governing entity in Venezuela. Through those ties, TdA has become

                                                 15
      Case 1:25-cv-00766-JEB           Document 26        Filed 03/17/25      Page 24 of 35




indistinguishable from the Venezuelan government, and the two may be folded together for

purposes of invoking Section 21.

       Although Plaintiffs try to depict this invocation of the AEA as novel, the United States has

a long history of using war powers against formally nonstate actors. Historically, the United States

has authorized the use of force against “slave traders, pirates, and Indian tribes.” Curtis A. Bradley

& Jack L. Goldsmith, Congressional Authorization and the War on Terrorism, 118 Harv. L. Rev.

2047, 2066 (2005). It has engaged militarily, during broader armed conflicts, with “opponents

who had no formal connection to the state enemy,” including during the Mexican–American and

Spanish–American Wars. Id. at 2066–67. President Wilson famously “sent more than seven

thousand U.S. troops into Mexico to pursue Pancho Villa, the leader of a band of rebels opposed

to the recognized Mexican government,” id. at 2067, while, more recently, President Clinton

authorized missile strikes on al Qaeda targets in Africa and elsewhere, see generally El-Shifa, 607

F.3d 836.

       In all events, TdA also acts as a de facto government in the areas where it operates. As the

Proclamation recognizes, “Venezuela national and local authorities have ceded ever-greater

control over their territories to transnational criminal organizations, including TdA.” Proclamation

Preamble. In those areas where it operates, TdA is in fact acting as a criminal government,

independent or in place of the normal civil society and government. Given TdA’s governance and

organizational structure, as well as its de facto control over parts of Venezuela in which it operates

with impunity as an effective governing authority unto itself, it is well within the discretion of the

President to determine it constitutes a foreign “government” for purposes of invoking Section 21.

       Plaintiffs insist the United States’ recognition of the “Venezuelan National Assembly as

the only legitimate branch of the Government of Venezuela,” Mot. 9–10, limits the AEA’s scope.


                                                 16
      Case 1:25-cv-00766-JEB           Document 26        Filed 03/17/25      Page 25 of 35




By that logic, an invasion by Maduro’s regime, which the United States does not recognize, would

likewise fall outside the scope of the AEA. That obviously cannot be correct.

       B.      The Proclamation is supported by the President’s inherent authority to
               conduct foreign affairs and address national security risks.

       The President’s inherent Article II authority bolsters the Proclamation. Under his authority

to protect the nation, the President determined that TdA represents a significant risk to the United

States, that it is intertwined and advancing the interests of a foreign government in a manner

antithetical to the interests of the United States, and that its members should be summarily removed

from this country as part of that threat. The exercise of authority in this case is firmly supported

by longstanding Supreme Court precedent. Article II confers on the President expansive authority

over foreign affairs, national security, and immigration. See Harisiades v. Shaughnessy, 342 U.S.

580, 588 (1952); United States v. Curtiss-Wright Exp. Corp., 299 U.S. 304, 320 (1936). And

where, as here, “the President acts pursuant to an express or implied authorization of Congress,”

i.e., 50 U.S.C. § 21, coupled with the President’s own Article II powers over foreign affairs and

national security, “his authority is at its maximum, for it includes all that he possesses in his own

right plus all that Congress can delegate.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

635 (1952) (Jackson, J., concurring); see Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 10

(2015) (similar); see also Ludecke, 335 U.S. at 164.

       If anything, this authority is heightened here. The Supreme Court has consistently noted

that “[i]t is an accepted maxim of international law that every sovereign nation has the power, as

inherent in sovereignty, and essential to self-preservation, to forbid the entrance of foreigners

within its dominions, or to admit them only in such cases and upon such conditions as it may see

fit to prescribe.” Nishimura Ekiu v. United States, 142 U.S. 651, 659 (1892). Thus, laws involving

aliens are “implementing an inherent executive power.” United States ex rel. Knauff v.

                                                 17
      Case 1:25-cv-00766-JEB           Document 26        Filed 03/17/25      Page 26 of 35




Shaughnessy, 338 U.S. 537, 542 (1950) (emphasis added). The confluence of statutory and

constitutional authority puts the President’s actions on the strongest possible turf.

       C.      Plaintiffs’ remaining arguments lack merit.

       Plaintiffs’ additional arguments against the legality of the Proclamation all lack merit.

       First, Plaintiffs are wrong that Proclamation violates the Immigration and Nationality Act,

8 U.S.C. § 1101, et seq., which, according to Plaintiffs, provides the “sole and exclusive” means

by which aliens may be removed from the United States. Mot. at 13–14. There is no conflict; the

INA and AEA are distinct mechanisms for effectuating the removal of certain aliens from the

United States, just as Title 42 and the INA constituted different bases for excluding aliens from

the United States. See generally Huisha-Huisha v. Mayorkas, 27 F.4th 718 (D.C. Cir. 2022).

       The determination required under the AEA does not relate to the admissibility or

deportability of any alien, so there is no reason to believe that Title 8 and its “sole and exclusive”

means for addressing those questions is implicated in this case. See 8 U.S.C. § 1229a(a)(3)

(removal proceedings are “exclusive” only to the extent the government is determining

admissibility or removability, as those terms are defined under Title 8).

       In any event, there is no conflict between the AEA and the INA, and a harmonious reading

of the Executive’s authority under the AEA and its authority under prevailing immigration laws

was rendered over 75 years ago in the wake of World War II. See United States ex rel. Von

Kleczkowski v. Watkins, 71 F. Supp. 429, 437 (S.D.N.Y. 1947). Not all alien enemies will be

subject to removal under Title 8 because the authority under Title 50 extends to aliens regardless

of lawful status in the United States. Likewise, not all aliens subject to Title 8 will be subject to

removal under the AEA—as removal under the AEA is premised on discrete findings, such as

nationality and age, beyond admissibility or removability as defined in the INA. And for aliens


                                                 18
      Case 1:25-cv-00766-JEB            Document 26         Filed 03/17/25       Page 27 of 35




subject to both Title 8 and Title 50 removals, the Executive has discretion in deciding how and

whether to proceed under either or both statutes. See id. (recognizing this discretion under pre-

INA immigration law). Thus, the AEA and the INA coexist with some overlap that gives the

Executive discretion to determine how, whether, or when to apply them. See, e.g., Epic Systems

Corp. v. Lewis, 584 U.S. 497, 510 (2018) (“When confronted with two Acts of Congress allegedly

touching on the same topic, this Court . . . must . . . strive to give effect to both.” (cleaned up)).

        Even if there were a conflict between the AEA and the INA, it is the AEA that would

control. “[I]t is a commonplace of statutory construction that the specific governs the general.”

Morales v. Trans World Airlines, Inc., 504 U.S. 374, 384 (1992). Here, the AEA provides specific

rules for the removal of a subset of aliens—those designated as alien enemies through a discrete

mechanism providing authority to the President—against the more general provisions relating to

removability provided by the INA. Thus, to the extent there may be conflict, the AEA provides

an exception to the more general applicability of the INA’s removal provisions, and this is true

regardless of the later enactment of the INA. See, e.g., Morton v. Mancari, 417 U.S. 535, 550–51

(1974) (“Where there is no clear intention otherwise, a specific statute will not be controlled or

nullified by a general one, regardless of the priority of enactment.”).

        Second, Plaintiffs contend (Mot. at 14–15) that the AEA cannot be applied so as to bar

applications for asylum and related protection. Yet alien enemies are not entitled to seek any relief

or protection in the country that has designated them enemies, unless the President permits such

applications. See Citizens Protective League, 155 F.2d at 294 (noting common law rule that “alien

enemies have no rights, no privileges, unless by the king’s special favor”). Again, Plaintiffs’

argument ultimately relies on an assertion of a conflict between the two statutes. Yet there is none;

the INA provides a system for determining removability and any relief or protection from removal


                                                   19
      Case 1:25-cv-00766-JEB           Document 26        Filed 03/17/25      Page 28 of 35




for aliens under the authority of Title 8, whereas the AEA provides its own mechanism permitting

the President or his delegates to implement procedures and regulations governing removal,

detention, and any other issue related to invocation of the AEA, see 50 U.S.C. § 21.

       Beyond this fact, there is no textual indication that provisions of the INA relating to asylum

and related protection place fetters on the President’s exercise of authority under Title 50. None

of the cited provisions constrain the President’s actions. See 8 U.S.C. § 1158(b)(1)(A) (Attorney

General or Secretary of Homeland Security); 8 U.S.C. § 1231(b)(3) (Attorney General); 8 C.F.R.

§ 1208.16, 1208.18 (Immigration Judges, via delegation from the Attorney General); see also Sale

v. Haitian Ctrs. Council, Inc., 509 U.S. 155, 172–73 (1993) (recognizing distinct grants of

authority under the INA to, inter alia, President and Attorney General). Nor are such constraints

implicated just because the President has delegated certain authorities, including implementation

of the Proclamation, to the Attorney General. See Sale, 509 U.S. at 172 n.28 (in implementing the

Proclamation, the Attorney General would be “carrying out an executive, rather than a legislative,

command, and therefore would not necessarily [be] bound” by provisions of the INA).

       In any event, asylum is a discretionary form of relief, and eligibility for such relief may be

foreclosed on a categorical basis, as the D.C. Circuit has previously held in the context of Title 42.

See Huisha-Huisha, 27 F.4th at 730–31. Here, the AEA disallows relief for covered enemy aliens,

and that represents the Executive’s categorical conclusion that such aliens are not entitled to relief

in the exercise of discretion.     The text and structure of the INA, as well its regulatory

implementation, likewise support the prohibition on consideration of applications for protection

from removal. Those provisions are fundamentally concerned with removal under the INA, a legal

principle not relevant to the mechanics of the Proclamation at issue in this case. See 8 U.S.C.

§ 1231(b)(3)(A); 8 C.F.R. § 1208.16(a), 1208.18(b). The instant Proclamation does not deal with


                                                 20
      Case 1:25-cv-00766-JEB           Document 26          Filed 03/17/25    Page 29 of 35




removal proceedings or any other aspect of removal, and thus any constraint these provisions may

impose on the removal of an alien are not implicated here.

       Third, Plaintiffs argue (Mot. at 16–17) that both the statute and due process require that

aliens who fall within the purview of the Proclamation be permitted time to voluntarily depart from

the United States, and that forcible removal is permissible only where the alien refuses or neglects

to do so. That is not a defensible reading of the statute, especially in context. To be sure, Section

21 permits the President to “provide for the removal of those who, not being permitted to reside

within the United States, refuse or neglect to depart therefrom,” 50 U.S.C. § 21, but it also broadly

provides that alien enemies within the purview of a Proclamation “shall be liable to be . . . removed

as alien enemies.” In this context, where the alien enemies are members of the hostile force itself,

the President cannot be required to provide any period of voluntary departure prior to effectuating

removal, and the AEA’s entire purpose would be undercut if active participants in hostilities had

to be politely asked to depart on their own terms.2

       For that reason, the Proclamation explains that TdA engaged in “mass illegal migration to

the United States to further its objectives of harming United States citizens,” and that this activity

undermines public safety, while also enhancing the “Maduro regime’s goal of destabilizing

democratic nations in the Americas, including the United States.” Proclamation Preamble.

Plaintiffs have yet to challenge that reasoning directly.




2
 The cases cited by Plaintiffs do not undercut this assertion, as both cases dealt with an alien who
was a citizen of Germany during World War II but who was not a member of any German military
unit and was otherwise not engaged in active hostility or criminal acts against the United States.
See Mot. at 16 (citing United States ex rel. Dorfler v. Watkins, 171 F.2d 431, 432 (2d Cir. 1948);
U.S. ex rel. Von Heymann v. Watkins, 159 F.2d 650, 653 (2d Cir. 1947)).
                                                 21
       Case 1:25-cv-00766-JEB         Document 26        Filed 03/17/25      Page 30 of 35




       Plaintiffs also cite a section allowing the President to, inter alia, “declare such reasonable

time as may be consistent with the public safety, and according to the dictates of humanity and

national hospitality,” in which a covered alien enemy may conclude his affairs in the United States

and voluntarily depart. 50 U.S.C. § 22. But that has no application in circumstances where the

alien is “chargeable with actual hostility, or other crime against public safety.” Id. The latter is

categorically the case here: The Proclamation finds that the covered alien enemies are engaged in

active hostility and criminality against the interests of the United States. See Proclamation

Preamble. Section 22 thus has no relevance to the aliens covered by the Proclamation.

       Finally, Plaintiffs contend that the Proclamation is “arbitrary and capricious” under the

APA, see Mot. at 17, but the APA does not provide a cause of action for judicial review of the

Proclamation. As noted above, the President is not an “agency,” and his actions are not subject to

APA review. See supra, pp. 9-10 (citing, inter alia, Franklin, 505 U.S. at 801). Nor do Plaintiffs

otherwise identify any final agency action that would be subject to review under the APA. See

generally Mot. at 17; see also supra, pp. 9-10.

III.   The Remaining Equitable Factors Weigh Strongly in the Government’s Favor.

       A.      Plaintiffs have not established irreparable harm.

       Plaintiffs’ arguments for irreparable harm are based on the “risk that they will be

summarily removed from the United States to Venezuela or El Salvador without any meaningful

opportunity to assert claims for relief.” Mot. at 17; see also id. at 18–21. As the Supreme Court

has explained, however, “[a]lthough removal is a serious burden for many aliens, it is not

categorically irreparable.” Nken, 556 U.S. at 435. And the Supreme Court reached that conclusion

in a case where the petitioner argued he would face persecution if removed. Id. at 422–23 (“Nken

claimed he had been persecuted in the past . . . would be subject to further persecution if he


                                                  22
      Case 1:25-cv-00766-JEB            Document 26      Filed 03/17/25      Page 31 of 35




returns” and that changed circumstances since he left his home country “made his persecution

more likely”). “It is accordingly plain that the burden of removal alone cannot constitute the

requisite irreparable injury.” Id. at 435.

        B.      The balance of equities requires dissolving the injunction.

        The balance of harms and the equities strongly favor the government here. The Court’s

orders prevent the President from using his statutory and constitutional authority to address what

he has identified as an invasion or predatory incursion by a group undertaking hostile actions and

conducting irregular warfare. It therefore “deeply intrudes into the core concerns of the executive

branch,” Adams, 570 F.2d at 954, and frustrates the “public interest in effective measures to

prevent the entry of illegal aliens,” United States v. Cortez, 449 U.S. 411, 421 n.4 (1981). The

Executive Branch’s protection of these interests, including “sensitive and weighty interests of

national security and foreign affairs” that are implicated when the Executive is combating terrorist

groups, warrants the utmost deference. Humanitarian Law Project, 561 U.S. at 33–35.

        The Supreme Court has warned of “the danger of unwarranted judicial interference in the

conduct of foreign policy.” Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 116 (2013); Biden

v. Texas, 142 S. Ct. 2528, 2548 (2022) (Kavanaugh, J., concurring) (“Nothing in the relevant

immigration statutes at issue here suggests that Congress wanted the Federal Judiciary to

improperly second-guess the President’s Article II judgment with respect to American foreign

policy and foreign relations”). This Court’s orders do just that, undermining delicate international

negotiations to remove dangerous alien enemies, where even a short delay in removal can frustrate

removal entirely. See Zadvydas v. Davis, 533 U.S. 678, 696 (2001); Ex. 2, Declaration of Michael

G. Kozak. The orders divest the Executive of its key foreign-affairs and national-security authority

oriented towards effectuating removal of alien enemies linked to a designated FTO—efforts that


                                                23
      Case 1:25-cv-00766-JEB          Document 26        Filed 03/17/25      Page 32 of 35




may be forever stymied if halted even temporarily. See Kozak Decl. at ¶ 5.

       These equities outweigh the equities Plaintiffs have raised. See, e.g., Nken, 556 U.S. at

436 (noting there “is always a public interest in prompt execution of removal orders” even in cases

where an alien asserts a risk of harm, and that interest “may be heightened” in circumstances where

“the alien is particularly dangerous”). U.S. national security is of paramount importance.

IV.    The Universal TRO Is Overbroad and Unconstitutional.

       If nothing else, this Court should dissolve the sweeping injunction premised on provisional

certification of a nationwide class. AEA jurisprudence limiting the courts to habeas review sharply

contrasts with the universal TRO this Court issued with respect to the members of the provisionally

certified class with no habeas claims before the Court. Precedent establishes that the role of the

courts with respect to the AEA is only to assess whether a detainee is subject to the AEA

proclamation, not to probe the national-security and foreign-policy judgments of the President in

issuing the proclamation itself. Ludecke, 335 U.S. at 164 (providing habeas review only of whether

detainee was subject to the proclamation); United States ex rel. Von Heymann v. Watkins, 159 F.2d

650, 652 (2d Cir. 1947) (same); United States ex rel. Kessler v. Watkins, 163 F.2d 140, 141 (2d

Cir. 1947) (same). Moreover, habeas jurisdiction must reach the custodian, see Rasul v. Bush, 542

U.S. 466, 483–84 (2004), but here the Court issued a nationwide injunction where most—if not

all—of the provisional class members are beyond this Court’s jurisdiction. That was improper.

       The highly truncated class procedures here—in which a nationwide class was certified

before the government could even file a brief in opposition—were improper too, and incompatible

with “‘foundational’ limits on equitable jurisdiction.” Dep’t of State v. AIDS Vaccine Advoc.

Coal., No. 24A831, slip op. 7 (2025) (Alito, J., joined by Thomas, Gorsuch, and Kavanaugh, J.J.,

dissenting) (citation omitted). The injunction undermines longstanding deference to the Executive


                                                24
        Case 1:25-cv-00766-JEB                Document 26            Filed 03/17/25          Page 33 of 35




Branch’s national security judgments, including the President’s responsibility to identify and

respond to threats posed by the TdA. Moreover, Article III does not empower federal courts to

“exercise general legal oversight of the Legislative and Executive Branches,” TransUnion LLC v.

Ramirez, 594 U.S. 413, 423–24 (2021), much less empower them to assume a position of authority

over the governmental acts of another coequal department, “an authority which plainly [courts] do

not possess.” Massachusetts v. Mellon, 262 U.S. 447, 489 (1923). To the contrary, courts have

recognized the Judiciary’s limitations in assessing national-security information and judging the

necessity of action to counter national-security threats. See Humanitarian Law Project, 561 U.S

at 34 (“[W]hen it comes to collecting evidence and drawing factual inferences in [the national

security] area, the lack of competence on the part of the courts is marked”).

         This Court therefore lacked authority to issue the overbroad, universal TRO.

                                                 CONCLUSION

         For these reasons, the Court should vacate both orders.3



March 17, 2025                                                   Respectfully Submitted,

                                                                 PAMELA J. BONDI
                                                                 U.S. Attorney General

                                                                 TODD BLANCHE
                                                                 Deputy Attorney General

                                                                 EMIL BOVE
                                                                 Principal Associate Deputy
                                                                 Attorney General

                                                                 CHAD MIZELLE


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  This court has jurisdiction to vacate its TRO, see Fed. R. Civ. P. 62(d), but if this Court disagrees we request an
indicative ruling that it would vacate. See Fed. R. Civ. P. 62.1.


                                                          25
Case 1:25-cv-00766-JEB   Document 26    Filed 03/17/25     Page 34 of 35




                                     Acting Associate Attorney General

                                     YAAKOV M. ROTH
                                     Acting Assistant Attorney General

                                     s/ Drew C. Ensign
                                     DREW C. ENSIGN
                                     Deputy Assistant Attorney General
                                     950 Pennsylvania Avenue
                                     Washington, DC 20530
                                     Phone: (202) 514-2000
                                     e-Mail: drew.c.ensign@usdoj.gov

                                     AUGUST E. FLENTJE
                                     Acting Director

                                     EREZ REUVENI
                                     Assistant Director

                                     BRIAN C. WARD
                                     Acting Assistant Director

                                     CHRISTINA P. GREER
                                     Senior Litigation Counsel

                                     PATRICK GLEN
                                     Senior Litigation Counsel

                                     Counsel for Defendants




                                26
      Case 1:25-cv-00766-JEB          Document 26       Filed 03/17/25      Page 35 of 35




                                CERTIFICATE OF SERVICE


       I hereby certify that on March 17, 2025, I electronically filed this response with the Clerk

of the Court for the United States District Court for the District of Columbia by using the CM/ECF

system. Counsel in the case are registered CM/ECF users and service will be accomplished by the

CM/ECF system.


                                                By: /s/ August E. Flentje
                                                    Acting Director
                                                    U.S. Department of Justice, Civil Division
                                                    Office of Immigration Litigation
                                                    P.O. Box 878, Ben Franklin Station
                                                    Washington, DC 20044
                                                    Tel: (202) 514-3309
                                                    Email: August.Flentje@usdoj.gov




                                               27
